     Case:19-02168-ESL11 Doc#:52 Filed:08/04/20 Entered:08/04/20 14:48:04    Desc: Main
                                Document Page 1 of 1


 1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                  THE DISTRICT OF PUERTO RICO
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 3
       IN RE:                                   CASE NO. 19-02168-ESL11
 4      JM DAIRY INC                            Chapter 11

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 6
       XX-XXXXXXX
 7
                       Debtor                      FILED & ENTERED ON AUG/04/2020
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                                ORDER GRANTING UNOPPOSED MOTION
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            This case is before the Court on the following: Motion requesting to
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      extend the exclusivity period to file the Chapter 11 Plan of Reorganization &
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      Disclosure Statement, filed by Debtors, docket #51.
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            Due notice having been given, there being no opposition, and good cause
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      appearing thereof, the motion is hereby granted.
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            IT IS SO ORDERED.
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            In San Juan, Puerto Rico, this 4 day of August, 2020.
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